Case 3:07-cv-05944-JST Document 4611 Filed 04/29/16 Page 1 of 4
Case 3:07-cv-05944-JST Document 4611 Filed 04/29/16 Page 2 of 4
Case 3:07-cv-05944-JST Document 4611 Filed 04/29/16 Page 3 of 4
Case 3:07-cv-05944-JST Document 4611 Filed 04/29/16 Page 4 of 4




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